    Case: 1:20-cv-04972 Document #: 54 Filed: 10/03/23 Page 1 of 2 PageID #:2439




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JAMES NOSAL, Individually and on Behalf
of All Others Similarly Situated,

                      Plaintiff,                       Case No. 1:20-cv-04972

        v.                                             Hon. Judge John F. Kness

RICH PRODUCTS CORPORATION,                             Hon. Magistrate Judge Sunil R. Harjani

                      Defendant.


                                       JURY DEMAND

        Plaintiff James Nosal, by and through his attorneys, Stephan Zouras, LLP, hereby demands

a trial by jury.



Dated: October 3, 2023                      Respectfully Submitted,

                                            /s/ Andrew C. Ficzko

                                            Ryan F. Stephan
                                            James B. Zouras
                                            Andrew C. Ficzko
                                            STEPHAN ZOURAS, LLP
                                            222 W. Adams Street, Suite 2020
                                            Chicago, Illinois 60606
                                            (312) 233-1550
                                            (312) 233-1560 f
                                            rstephan@stephanzouras.com
                                            jzouras@stephanzouras.com
                                            aficzko@stephanzouras.com

                                            Attorneys for Plaintiff and the
                                            Putative Class Members




                                               1
    Case: 1:20-cv-04972 Document #: 54 Filed: 10/03/23 Page 2 of 2 PageID #:2440




                                 CERTIFICATE OF SERVICE

       I, the attorney, hereby certify that on October 3, 2023, I filed the attached with the Clerk

of the Court using the electronic filing system which will send such filing to all attorneys of record.



                                                                /s /Andrew C. Ficzko




                                                  2
